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EXcetpted Depo. Tr.
Mark Mancini
Vol. I

 

 

 

   
   
  
   
  
    
 
 
   
     
 
 

 

 

 

 

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l Mark Mancini - April 2, 2015
v 3"7}
l Q. Paragraph 35, it says, On May 3, 2012,
2 Sergeant Mancini was notified that on June
3 16, 2012, a written examination for promoting
4 police officers from the rank of Sergeant to
5 the rank of Lieutenant would be administered
6 to all eligible Sergeants (June 16, 2012
7 Lieutenants promotional exam)o And that is
8 the one that We are here on, correct?
9 A. Correct.
10 Q. And Colonel Clements Was the chief at that
H time?
A. Yes.
Q. Did you take any other Lieutenant’s exam
other than this one?
A. I did.
Q. How many Lieutenant's exams?
A. One. I took one in March of 2010.
Q. Who Was the Colonel then?
Aa It was Esserman.
Q. When you took that test in 2010, how did you
do?
A. I did Well, but I didn't make it. I did
fairly well. I believe I ended up out of --
I think I might have ended up in the top ten,
I think it was the top ten.

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1 Q. They took five?

    

2 A. Yes, they took five.
3 Q. Did you get the most seniority points you
could get, the 5 seniority points?

5 A. I did.

.,¢>

6 Q. Did you get the most education points?

7 A. I did.

Q, Did you get the most chief's points?

A. I did.

Q. So you had 5, 5 and 5 on those?
A. Correct.

Q. If you look on Page 5, Paragraph 41. It
says, The service category pertains to the
candidates‘s overall performance as a police
officer. Letters of commendation and
memoranda merit received, as Well as unused
sick time may be considered. How did you
arrive at an understanding that that‘s what
was considered for service points?

A. That’s what it says on the GL that is
given to us.

MR. GAGLIARDI: On the What?

THE WITNESS: On the general
order. When they announce a test, a general

order comes out.

 

 

 

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